                                  Accom Inc.,

                    Chapter 11 Case No.: 05-32680 – DM


                        Exhibit A through C to


       DISCLOSURE STATEMENT FOR DEBTOR’S
     CHAPTER 11 PLAN DATED SEPTEMBER 9, 2005




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                                                                                                                                  Accom, Inc
                                                                                                                         Income Statement - Trended
                                                                                                                     For the Period Ending: July 31, 2005
                                                                                                                                  US$ (000)

                                                                                                                                                                                                                                                            Actual
                                  Actual        Actual        Actual         Actual     Actual         Actual          Actual         Actual     Actual        Actual         Actual        Actual     Actual        Actual        Actual        Actual     YTD
                                   JAN           FEB          MAR           1st QTR     APR            MAY              JUN          2nd QTR      JUL          AUG             SEP         3rd QTR     OCT           NOV           DEC          4th QTR    ACTUAL
     Revenue:
1    Broadcast                         65           319           114            499         84            188              317           589          7                 0             0         7              0             0             0         0        1,095
2    OEM                               45           139           446            631        226              1               46           272          1                 0             0         1              0             0             0         0          904
3    Disc Products                     98           135           278            511         60             73               20           154         99                 0             0        99              0             0             0         0          764
4    Service                          119           100            95            313         97            110               90           297         75                 0             0        75              0             0             0         0          685
5    TOTAL REVENUES                   326           693           934          1,954        468            372              472         1,312        182                 0             0       182              0             0             0         0        3,447

     Equipment Costs:
6    Broadcast                          9            64            22             95         21             42               60          124           0                 0             0         0              0             0             0         0         218
7    OEM                               27            49           163            239         82              0               13           95           0                 0             0         0              0             0             0         0         334
8    Disc Products                     26            50            82            159         19             15                7           41          28                 0             0        28              0             0             0         0         229
9    Service Cost of Equipment          7            11            13             31          3             12               10           25           4                 0             0         4              0             0             0         0          60
10      Total Equipment Cost           69           174           280            523        125             69               90          285          32                 0             0        32              0             0             0         0         841

     Product Contribution:
11   Broadcast                         56           256            92            404         63            146              256          465           7                 0             0         7            0           0             0              0         876
12   OEM                               18            90           284            392        144              1               33          178           1                 0             0         1            0           0             0              0         570
13   Disc Products                     71            84           196            352         41             58               13          112          71                 0             0        71            0           0             0              0         535
14   Total Product Contribution       146           430           571          1,147        248            205              302          755          79                 0             0        79            0           0             0              0       1,981
15                %                 70.2%         72.5%         68.1%         70.0%       67.0%          78.3%            79.0%        74.4%       73.6%       #DIV/0!       #DIV/0!         73.6%     #DIV/0!      #DIV/0!       #DIV/0!       #DIV/0!       71.7%

16 Manufacturing Expense              100            94           103           297         102             97               90          290          48                 0             0        48              0             0             0         0          634
17 Other Manufacturing Expense         24             8             7            39          12             17               18           48          22                 0             0        22              0             0             0         0          108
18 Other Service Expense               18            18            18            54          18             18               18           54          18                 0             0        18              0             0             0         0          126
19    Total Cost of Revenues          211           294           408           913         258            202              216          676         120                 0             0       120              0             0             0         0        1,709

20 GROSS PROFIT                       115           399           526         1,041         210            170              256           636         62                 0             0         62           0           0             0              0       1,739
21              %                  35.3%         57.6%         56.3%         53.3%       44.9%          45.8%            54.2%         48.5%      34.0%        #DIV/0!       #DIV/0!         34.0%     #DIV/0!      #DIV/0!       #DIV/0!       #DIV/0!      50.4%
   Operating Expense:
22 Selling                             99            69            91           258          84             73               69           226          4                 0             0         4              0             0             0         0          488
23 Marketing                           87            90            87           263         101             91              117           309         15                 0             0        15              0             0             0         0          587
24 Service Expense                     57            55            59           171          62             59               52           173         32                 0             0        32              0             0             0         0          376
25 General & Administrative            94            89            78           262          90             89               99           278         73                 0             0        73              0             0             0         0          613
26 R & D                              248           240           321           809         251            212              151           614         44                 0             0        44              0             0             0         0        1,467
27 Total Departmental Expense         585           544           636         1,764         588            525              486         1,600        168                 0             0       168              0             0             0         0        3,532

28 Amortization of Rent                31            31            31            93          31             31               31           93          31                 0             0        31              0             0             0         0         217

29     Total Operating Expenses       616           575           667         1,857         619            556              517         1,693        199                 0             0       199              0             0             0         0        3,749


30 OPERATING INCOME                   (500)         (175)         (141)         (816)       (410)          (386)            (262)      (1,057)       (137)      0                  0           (137)      0               0             0             0      (2,011)
31         %                       -153.3%        -25.3%        -15.0%        -41.8%      -87.6%        -103.7%           -55.4%       -80.6%      -75.6% #DIV/0!            #DIV/0!         -75.6% #DIV/0!         #DIV/0!       #DIV/0!       #DIV/0!      -58.3%

32   EBITDA                          (429)         (105)          (70)         (604)       (339)           (327)           (203)         (869)       (67)                0             0        (67)            0             0             0         0      (1,540)
33   YTD EBITDA                      (429)         (533)         (604)         (604)       (943)         (1,270)         (1,473)       (1,473)    (1,540)                0             0     (1,540)            0             0             0         0      (1,540)
34   Other Income (Expense)            (0)           (0)            0            (0)          0              (0)             (1)           (1)         0                 0             0          0             0             0             0         0          (1)
35   Interest Expense, Net            (11)          (10)          (10)          (31)        (11)              2               1            (8)         0                 0             0          0             0             0             0         0         (39)

36 Income Before Taxes                (511)        (185)         (151)          (848)      (420)           (384)           (262)       (1,066)      (137)                0             0       (137)       0              0             0              0     (2,051)
37             %                  (156.6%)      (26.7%)       (16.2%)        (43.4%)    (89.8%)        (103.3%)         (55.5%)       (81.3%)    (75.6%)       #DIV/0!       #DIV/0!        (75.6%) #DIV/0!         #DIV/0!       #DIV/0!       #DIV/0!     (59.5%)

38 Income Taxes                            0             0             0           0             0              0               0           0             0              0             0          0             0             0             0         0           0

39 NET INCOME                        (511)         (185)         (151)         (848)       (420)          (384)            (262)       (1,066)      (137)                0             0      (137)             0             0             0         0      (2,051)

40 Depreciation                            29            28            28         84             28             28              28         83             28             0             0         28             0             0             0          0         195


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                                                                                                                    Accom, Inc
                                                                                                             Balance Sheet - Trended
                                                                                                       For the Period Ending: July 31, 2005
                                                                                                                    US$ (000)


                                                Dec-04     January     February        March           April              May              June              July          August       September October   November December

                       ASSETS
1    Cash                                      $    603 $      1,146   $    796    $       580 $            816 $               643 $              43    $      282    $            - $        - $      - $       - $       -
2    Restricted Cash                                 72           65         76             65               45                   7                15            15                 -          -        -         -         -
3    Accounts Receivable - Trade                   1,559         604        879           1,171             505                 391               533           276                 0          0        0         0         0
4    Reserve for Bad Debts                           (85)        (85)       (85)            (75)            (70)                (70)              (52)          (36)                0          0        0         0         0
5      Accounts Receivable Trade - Net         $   1,474 $       519 $      793 $         1,096 $           435 $               321 $             481 $         240 $               - $        - $      - $       - $       -
6    Inventory - Gross                            2,325         2,115    2,100            1,698           1,593             1,533             1,515           1,462                 0          0        0         0         0
7    Inventory Reserves                          (1,085)       (1,143)  (1,129)            (888)           (830)             (837)             (794)           (849)                0          0        0         0         0
8       Inventory - Net                        $ 1,240 $          972 $    971 $            810 $           763 $             695 $             721 $           613 $               - $        - $      - $       - $       -
 9 Intercompany Receivable - Accom Companies          0            0          0              0                0                   0                 0             0                 0          0        0         0         0
10 Other Current Assets                             485          445        409            398              328                 324               194           242                 0          0        0         0         0
11     TOTAL CURRENT ASSETS                    $   3,873   $   3,148   $   3,045   $      2,948    $      2,386       $     1,989      $      1,455      $    1,392    $            - $        - $      - $       - $       -

12 Fixed Assets ( Net of Depreciation )             722          910        811            848              878                 855               865           835                 0          0        0         0         0
13 Intangible Assets ( Net of Amortization )          0            0          0              0                0                   0                 0             0                 0          0        0         0         0
14 Other Long Term Assets                           430          399        368            337              305                 274               233           202                 0          0        0         0         0
15     TOTAL LONG TERM ASSETS                  $   1,151   $   1,309   $   1,179   $      1,185    $      1,184       $     1,129      $      1,098      $    1,038    $            - $        - $      - $       - $       -

16                TOTAL ASSETS                 $   5,024   $   4,456   $   4,224   $      4,133    $      3,570       $     3,118      $      2,553      $    2,430    $            - $        - $      - $       - $       -

                    LIABILITIES
17   Accounts Payable - Trade                        60           49         32             60              102                  88                 -             -                 -          -        -         -         -
18   Intercompany Payable - Accom Companies           -            -          -              -                -                   -                 -             -                 -          -        -         -         -
19   Payroll and Benefits                           182          165        167            179              184                 193                 3             8                 -          -        -         -         -
20   Other Current Liabilities                      573          537        494            499              447                 423               359           369                 -          -        -         -         -
21     TOTAL CURRENT LIABILITIES               $    815 $        751   $    693    $       738 $            733 $               704 $             363    $      376    $            - $        - $      - $       - $       -

22 Long-Term Liabilities                           7,075       7,087       7,099          7,110           7,012             7,012             7,012           7,012                 -          -        -         -         -

23              TOTAL LIABILTIES               $   7,890   $   7,838   $   7,792   $      7,848    $      7,745       $     7,716      $      7,375      $    7,388    $            - $        - $      - $       - $       -

                       EQUITY
24   Common Stock                              $ 23,213 $ 23,213 $ 23,213 $              23,213 $        23,213 $          23,213 $          23,213 $ 23,213 $                      - $        - $      - $       - $       -
25   Paid-in Capital                                555      555      555                   555             555               555               555      555                        0          0        0         0         0
26   Cost of Treasury Stock                          (4)      (4)      (4)                   (4)             (4)               (4)               (4)      (4)                       0          0        0         0         0
27   Notes Receivable - Shareholders                  0        0        0                     0               0                 0                 0        0                        0          0        0         0         0
28     TOTAL COMMON STOCK                      $ 23,763    $ 23,763    $ 23,763    $     23,763    $     23,763       $    23,763      $     23,763      $ 23,763      $            - $        - $      - $       - $       -

29     TOTAL RETAINED EARNINGS                 $ (26,638) $ (27,154) $ (27,340) $       (27,467) $      (27,887) $         (28,272) $       (28,554) $ (28,689) $                   - $        - $      - $       - $       -
30 Translation Adjustment                             9            9          9             (11)               (51)             (89)              (30)          (33)                0          0        0         0         0
31                TOTAL EQUITY                 $ (2,866) $     (3,382) $ (3,568) $       (3,716) $        (4,175) $         (4,598) $        (4,821) $       (4,959) $              - $        - $      - $       - $       -
32       TOTAL LIABILITIES & EQUITY            $   5,024   $   4,456   $   4,224   $      4,133    $      3,570       $     3,118      $      2,553      $    2,430    $            - $        - $      - $       - $       -
                                                                                                                                                                                                                  0         0
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     Accom Inc.
     Cash Forecast
     [Dollars in Thousands]                             Interim Period

                                                   Aug              Sept          Sept
                                                19th - 31th       1st - 15th   16th - 30th


                                                     Cash           Cash         Cash
                                                    Forecast       Forecast     Forecast


     Beginning Cash                                      233             315         382

     Cash Collections                                    210             198          41

                 Uses of Cash


     Wages/Compensation                                   34             34           34
     Employer Paid Taxes                                   2              2            2
     Health Insurance                                      0              5            0
     Commissions - Sales Rep/Distr                         4              4            4
     Consultants                                           5              6            5
     Travel Expense                                        3              5            3
     Freight                                               4              4            4
     Communication/Telephone                               1              4            3
     Rent/CAM                                              0             42            0
     Other Facilities Expense                              6              6            3
     Project/Compliance Testing                            0              0            0
     Demo/Advertising/Trade Show                           0              0            0
     Tax Preparation & Accounting                          0              0            0
     Legal                                                 0              0            0
     Insurance                                             0              0            0
     Other                                                 7              9            9
     Sales Taxes                                           4             10           10
     MIS Software                                          0              0            0
     Engr Projects                                         0              0            0
     Inventory/Eng Project Matl/Exp Matl                  60              4            4


     Total Uses of Cash                         $        130      $      134   $       81


     Ending Cash Balance                        $        313      $      379   $     342




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                                      EARL H. AIKEN
                                3033 WHISPERWAVE CIRCLE
                                 REDWOOD CITY, CA 94065

                                          (650) 594-1714
                                       (650) 594-0332 FAX
                                         eha9@attbi.com



  Selected Crisis Management Clients

  CFO of Novalux, Inc., an institutional venture capital backed semiconductor laser
  manufacturer. I helped develop operating strategy and managed finance during a Chapter
  11 proceeding that lead to a successful restart of this company.

  CFO of Unisil, Inc., an $80 million silicon wafer manufacturer. I was a member of a
  turnaround team, which successfully reorganized this company using a pre-packaged Chapter
  11 and raised $25 million in new capital investment. I rebuilt the finance department,
  tightened credit and internal control procedures, managed a new banking relationship, helped
  negotiate and close the sale of a division, managed the initial audit of the new corporation
  and managed MIS.

  CFO of PixelCraft, Inc., a startup company financed by Xerox Technology Ventures. I
  supervised finance, HR, purchasing and MIS, and participated in successful negotiations
  leading to the sale of the main business line.

  CFO of Peripheral Land, Inc (PLI) a $40 million manufacturer of MacIntosh compatible
  mass storage devices. PLI defaulted on its secured debt and trade credit. I helped downsize
  the company, reduce headcount, auction excess inventory and negotiate the sale of the
  remaining business lines. PLI operated under an assignment for the benefit of creditors.

  Acting CFO of Charles Ford Company, $35 million department store chain operating in
  Chapter 11. I was a member of a turnaround management team that unsuccessfully attempted to
  raise new capital, then conducted an orderly liquidation of this firm.

  Consultant to VM Labs, Inc., a fabless semiconductor startup. I monitored cash flow and
  reported results to a venture investor. I also advised management and the investor about cash
  management and insolvency strategy.

  Consultant to Intellectron, Inc., a $50 million lighting products distributor. I helped
  manage the liquidation and sale of assets at auction in Chapter ll.

  Consultant to Capella, Inc., a network equipment reseller. After the company defaulted on
  its bank line, I developed a cash forecast for the company and its bank.

  Consultant to Venturini & Berry, Inc., a food distributor. I monitored the company’s cash
  management after the company defaulted on its bank loans.



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                                            Earl Aiken

  Consultant to Borchers Supply, a local hardware store chain. As the finance member of a
  team, I helped manage an orderly liquidation this company for the benefit of its secured
  lender.

  Consultant to Advance Group, a $40 million electrical equipment distributor operating in
  Chapter 11. I managed all forecasting and reporting during a contentious bankruptcy.


  Selected Additional Clients

  Acting CFO of NuGen Technologies, Inc., a venture funded bio-technology startup. I led the
  preparation of a financial plan for venture Round B, established accounting procedures and
  controls, and managed NuGen’s first audit.

  Acting CFO of MizBiz.com, an angel funded internet Startup. I developed a forecasting plan
  and assisted in dealing with creditors.

  Acting CFO of GreatLodge, an angel funded internet startup. I Advised and assisted
  management during financial the planning process.

  Acting CFO of Adicom Wireless, Inc., a venture backed wireless telecommunications company.
  I managed the 1999 audit and assisted in preparing a $25 million private placement
  memorandum. I also improved financial controls and procedures, and dealt with a major creditor
  lawsuit.

  Consultant to Informix Corporation, a $700 million database software company. I
  managed investor relations while a new management reported a large loss and a new strategic
  direction.

  Consultant to C-Cube Microsystems, Inc., a $350 million fabless semiconductor company.
  I managed investor relations after a sharp decline in the company’s stock price..


  Employment

  1981 - 1982: President of Durango Systems Credit Corporation, the sales finance
  subsidiary of a venture backed desktop computer manufacturer.

  1975 - 1981: Management, sales and credit positions with the finance and leasing
  subsidiaries of Crocker National Bank, Transamerica Corporation and Southern Pacific
  Company.


  Education

  MBA from Santa Clara University
  MA in political science from Emory University
  BA in history from Louisiana Tech




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